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In the United States Court of Federal Claims
                           OFFICE OF SPECIAL MASTERS

*********************
RUBEN CASTILLO,          *                           No. 14-083V
             Petitioner, *                           Special Master Moran
                         *
v.                       *                           Filed: May 28, 2015
                         *
SECRETARY OF HEALTH      *                           Attorneys’ fees and costs; award
AND HUMAN SERVICES,      *                           in the amount to which
             Respondent. *                           respondent does not object.
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Anne Toale, Maglio, Christopher & Toale, PA, Sarasota, FL, for Petitioner;
Ryan Pyles, United States Dep’t of Justice, Washington, DC, for Respondent.

               UNPUBLISHED DECISION ON FEES AND COSTS1

       On April 30, 2015, respondent filed a stipulation of fact concerning final
attorneys’ fees and costs in the above-captioned matter. Previously, petitioner
informally submitted a draft application for attorneys’ fees and costs to respondent
for review. Upon review of petitioner’s application, respondent raised objections
to certain items. Based on subsequent discussions, petitioner amended his
application to request $18,362.65, an amount to which respondent does not object.
The Court awards this amount.

       On January 29, 2014, Ruben Castillo filed a petition for compensation
alleging that the influenza vaccine, which he received on November 12, 2007,
caused him to develop transverse myelitis and/or neuromyelitis optica (“NMO”).
Petitioner received compensation based upon the parties’ stipulation. Decision,
issued May 8, 2015. Because petitioner received compensation, he is entitled to an
award of attorneys’ fees and costs. 42 U.S.C. § 300aa-15(e).



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          The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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       Petitioner seeks a total of $18,362.65, in attorneys’ fees and costs for his
counsel. Additionally, in compliance with General Order No. 9, petitioner states
that he incurred no out-of-pocket litigation expenses while pursuing this claim.
Respondent has no objection to the amount requested for attorneys’ fees and costs.

      After reviewing the request, the Court awards the following:

      A lump sum of $18,362.65, in the form of a check made payable to
      petitioner and petitioner’s attorney, Anne C. Toale, for attorneys’ fees
      and other litigation costs available under 42 U.S.C. § 300aa-15(e).

The Court thanks the parties for their cooperative efforts in resolving this matter.
The Clerk shall enter judgment accordingly. Any questions may be directed to my
law clerk, Mary Holmes, at (202) 357-6360.

      IT IS SO ORDERED.

                                              s/ Christian J. Moran
                                              Christian J. Moran
                                              Special Master




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